JS 44 (Rev. 04/21)                Case 2:23-cv-03106-JFM
                                                    CIVILDocument
                                                          COVER 1SHEET
                                                                   Filed 08/11/23 Page 1 of 17
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                        DEFENDANTS


   (b) County of Residence of First Listed Plaintiff                                                     County of Residence of First Listed Defendant
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                           (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                         NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                    THE TRACT OF LAND INVOLVED.
   (c) Attorneys (Firm Name, Address, and Telephone Number)
                                                                                                          Attorneys (If Known)




II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                     III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                      (For Diversity Cases Only)                                    and One Box for Defendant)
  1    U.S. Government                 3   Federal Question                                                                    PTF        DEF                                         PTF      DEF
         Plaintiff                           (U.S. Government Not a Party)                      Citizen of This State            1          1      Incorporated or Principal Place         4     4
                                                                                                                                                     of Business In This State

  2    U.S. Government                 4   Diversity                                            Citizen of Another State            2          2   Incorporated and Principal Place           5         5
         Defendant                           (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                  Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                   Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                               TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
  110 Insurance                      PERSONAL INJURY                  PERSONAL INJURY              625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                         310 Airplane                    365 Personal Injury -             of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
  130 Miller Act                     315 Airplane Product                 Product Liability        690 Other                                28 USC 157                        3729(a))
  140 Negotiable Instrument               Liability                  367 Health Care/                                                     INTELLECTUAL                    400 State Reapportionment
  150 Recovery of Overpayment        320 Assault, Libel &                Pharmaceutical                                                 PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment           Slander                        Personal Injury                                                820 Copyrights                    430 Banks and Banking
  151 Medicare Act                   330 Federal Employers’              Product Liability                                              830 Patent                        450 Commerce
  152 Recovery of Defaulted               Liability                  368 Asbestos Personal                                              835 Patent - Abbreviated          460 Deportation
       Student Loans                 340 Marine                          Injury Product                                                     New Drug Application          470 Racketeer Influenced and
       (Excludes Veterans)           345 Marine Product                  Liability                                                      840 Trademark                         Corrupt Organizations
  153 Recovery of Overpayment             Liability                 PERSONAL PROPERTY                       LABOR                       880 Defend Trade Secrets          480 Consumer Credit
      of Veteran’s Benefits          350 Motor Vehicle               370 Other Fraud               710 Fair Labor Standards                 Act of 2016                       (15 USC 1681 or 1692)
  160 Stockholders’ Suits            355 Motor Vehicle               371 Truth in Lending              Act                                                                485 Telephone Consumer
  190 Other Contract                     Product Liability           380 Other Personal            720 Labor/Management                  SOCIAL SECURITY                      Protection Act
  195 Contract Product Liability     360 Other Personal                  Property Damage               Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
  196 Franchise                          Injury                      385 Property Damage           740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                     362 Personal Injury -               Product Liability         751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                         Medical Malpractice                                           Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
      REAL PROPERTY                    CIVIL RIGHTS                 PRISONER PETITIONS             790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
  210 Land Condemnation              440 Other Civil Rights          Habeas Corpus:                791 Employee Retirement                                                893 Environmental Matters
  220 Foreclosure                    441 Voting                      463 Alien Detainee                Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
  230 Rent Lease & Ejectment         442 Employment                  510 Motions to Vacate                                              870 Taxes (U.S. Plaintiff             Act
  240 Torts to Land                  443 Housing/                        Sentence                                                            or Defendant)                896 Arbitration
  245 Tort Product Liability             Accommodations              530 General                                                        871 IRS—Third Party               899 Administrative Procedure
  290 All Other Real Property        445 Amer. w/Disabilities -      535 Death Penalty                 IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                         Employment                  Other:                        462 Naturalization Application                                             Agency Decision
                                     446 Amer. w/Disabilities -      540 Mandamus & Other          465 Other Immigration                                                  950 Constitutionality of
                                         Other                       550 Civil Rights                  Actions                                                                State Statutes
                                     448 Education                   555 Prison Condition
                                                                     560 Civil Detainee -
                                                                         Conditions of
                                                                         Confinement
V. ORIGIN (Place an “X” in One Box Only)
  1 Original             2 Removed from                     3     Remanded from               4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
    Proceeding             State Court                            Appellate Court               Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                            (specify)                 Transfer                          Direct File
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
VI. CAUSE OF ACTION Brief description of cause:

VII. REQUESTED IN                           CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                             UNDER RULE 23, F.R.Cv.P.                                                                           JURY DEMAND:           Yes       No
VIII. RELATED CASE(S)
                                           (See instructions):
      IF ANY                                                       JUDGE                                                                DOCKET NUMBER
DATE                                                                 SIGNATURE OF ATTORNEY OF RECORD


FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                    APPLYING IFP                                    JUDGE                           MAG. JUDGE
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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                    CASE MANAGEMENT TRACK DESIGNATION FORM
                                                  :                          CIVIL ACTION
                                                  :
                       v.                         :
                                                  :
                                                  :                          NO.
In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus – Cases brought under 28 U.S.C. § 2241 through § 2255.                             ( )
(b) Social Security – Cases requesting review of a decision of the Secretary of Health
    and Human Services denying plaintiff Social Security Benefits.                                   ( )
(c) Arbitration – Cases required to be designated for arbitration under Local Civil Rule 53.2.       ( )

(d) Asbestos – Cases involving claims for personal injury or property damage from
    exposure to asbestos.                                                                            ( )
(e) Special Management – Cases that do not fall into tracks (a) through (d) that are
    commonly referred to as complex and that need special or intense management by
    the court. (See reverse side of this form for a detailed explanation of special
    management cases.)                                                                               ( )
(f) Standard Management – Cases that do not fall into any one of the other tracks.                   ( )




Date                               Attorney-at-law                       Attorney for



Telephone                           FAX Number                           E-Mail Address


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                                                                      COURT
                                                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                          DESIGNATION FORM
                    (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

Address of Plaintiff: ______________________________________________________________________________________________

Address of Defendant: ____________________________________________________________________________________________

Place of Accident, Incident or Transaction: ___________________________________________________________________________


RELATED CASE, IF ANY:

Case Number: ______________________________                     Judge: _________________________________                   Date Terminated: ______________________

Civil cases are deemed related when Yes is answered to any of the following questions:

1.     Is this case related to property included in an earlier numbered suit pending or within one year                       Yes                    No
       previously terminated action in this court?

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                      Yes                    No
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier                         Yes                    No
       numbered case pending or within one year previously terminated action of this court?

4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                      Yes                    No
       case filed by the same individual?

I certify that, to my knowledge, the within case             is /      is not related to any case now pending or within one year previously terminated action in
this court except as noted above.

DATE: __________________________________                     __________________________________________                     ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                              Attorney I.D. # (if applicable)


CIVIL:

A.            Federal Question Cases:                                                      B.    Diversity Jurisdiction Cases:

       1.     Indemnity Contract, Marine Contract, and All Other Contracts                       1.   Insurance Contract and Other Contracts
       2.     FELA                                                                               2.   Airplane Personal Injury
       3.     Jones Act-Personal Injury                                                          3.   Assault, Defamation
       4.     Antitrust                                                                          4.   Marine Personal Injury
       5.     Patent                                                                             5.   Motor Vehicle Personal Injury
       6.     Labor-Management Relations                                                         6.   Other Personal Injury (Please specify): _____________________
       7.     Civil Rights                                                                       7.   Products Liability
       8.     Habeas Corpus                                                                      8.   Products Liability – Asbestos
       9.     Securities Act(s) Cases                                                            9.   All other Diversity Cases
       10.    Social Security Review Cases                                                            (Please specify): ____________________________________________
       11.    All other Federal Question Cases
              (Please specify): ____________________________________________



                                                                          ARBITRATION CERTIFICATION
                                                  (

I, ____________________________________________, counsel of record or pro se plaintiff, do hereby certify:

              Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
              exceed the sum of $150,000.00 exclusive of interest and costs:

              Relief other than monetary damages is sought.


DATE: __________________________________                     __________________________________________                     ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                              Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

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                    IN THE UNITED STATES DISTRICT COURT FOR
                     THE EASTERN DISTRICT OF PENNSYLVANIA

 ROBIN BARTLETT-RAUDENBUSH
 Doylestown, PA 18914
                      Plaintiff,                     CIVIL ACTION NO.

                        v.

 SPARK THERAPEUTICS, INC.
 3737 Market Street
 Philadelphia, PA 19104

                                Defendant.



                                          COMPLAINT

   I.      INTRODUCTION


        Plaintiff, Robin Bartlett-Raudenbush, brings this action against her former employer, Spark

Therapeutics, Inc. (Defendant), for discriminating against Plaintiff based upon her sex (female)

and retaliating against Plaintiff because of her complaints of discrimination, culminating in the

termination of Plaintiffs employment for false and pretextual reasons while Plaintiff was out on

an FMLA-protected medical leave.


        Defendants discriminatory and retaliatory conduct is in violation of Title VII of the Civil

Rights Act of 1964, as amended, 42 U.S.C. §2000e, et seq. (Title VII), the Family Medical Leave

Act, 29 U.S.C. §2601, et seq. (FMLA), the Pennsylvania Human Relations Act, as amended, 43

P.S. §951, et seq. (PHRA), and the Philadelphia Fair Practices Ordinance, as amended, Phila.

Code §9-1101, et seq. (PFPO).




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       Plaintiff seeks damages, including economic loss, compensatory damages, punitive

damages, liquidated damages, attorneys fees and costs, and all other relief this Court deems

appropriate.


II.    PARTIES


       1.       Plaintiff, Robin Bartlett-Raudenbush, is a female individual and a citizen of the

Commonwealth of Pennsylvania. Plaintiff resides in Doylestown, Pennsylvania.

       2.       Defendant is engaged in an industry affecting interstate commerce and regularly

does business in the state of Pennsylvania and in Philadelphia County.

       3.       Defendant maintains a principal place of business in Philadelphia, PA.

       4.       At all relevant times, Defendant employed more than fifty (50) people within a

seventy-five (75) mile radius of Plaintiffs workplace.

       5.       As of her termination, Plaintiff had been employed for at least twelve hundred and

fifty (1,250) hours of service during the preceding twelve (12) month period.

       6.       At all relevant times, Defendant acted by and through its authorized agents,

servants, workmen, and/or employees acting within the course and scope of their employment with

Defendant and in furtherance of Defendants business.

       7.       At all relevant times, Defendant acted as an employer within the meaning of the

statutes which form the basis of this matter.

       8.       At all relevant times, Plaintiff was an employee of Defendant within the meaning

of the statutes which form the basis of this matter.

III.   JURISDICTION AND VENUE

       9.       The causes of action which form the basis of this matter arise under Title VII, the

FMLA, the PHRA and the PFPO.

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       10.        This Court has jurisdiction over Count I (Title VII) pursuant to 42 U.S.C. §2000e-

5 and 28 U.S.C. §1331.

       11.        This Court has jurisdiction over Count II (FMLA) pursuant to 29 U.S.C.

§2617(a)(2) and 28 U.S.C. §1331.

       12.        This Court has jurisdiction over Count III (PHRA) pursuant to 28 U.S.C. §1367.

       13.        This Court has jurisdiction over Count IV (PFPO) pursuant to 28 U.S.C. §1367.

       14.        Venue is proper in this District Court pursuant to 28 U.S.C. §1391(b) because a

substantial part of the events or omissions giving rise to these claims occurred within this District.

       15.        On or about April 12, 2022, Plaintiff filed a complaint of discrimination with the

Pennsylvania Human Relations Commission (PHRC), complaining of acts of discrimination

alleged herein. That complaint was cross-filed with the Equal Employment Opportunity

Commission (EEOC). Attached hereto and incorporated herein as Exhibit 1 is a true and

correct copy of the PHRC complaint (with personal identifying information redacted).

       16.        On or about May 17, 2023, the EEOC issued to Plaintiff a Notice of Right to Sue

pertaining to Plaintiffs agency complaint. Attached hereto as Exhibit 2 is a true and correct copy

of that Notice.

       17.        Plaintiff has fully complied with all administrative prerequisites for the

commencement of this action.

IV.    FACTUAL ALLEGATIONS


       18.        Plaintiff began working at Defendant on or about February 21, 2017.

       19.        Plaintiff consistently performed her job duties in a highly competent manner and

received positive feedback.

       20.        Plaintiff last held the position of Head of Information Technology.


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       21.     Plaintiff last reported to Cynthia Pussinen (Pussinen) (female), Chief Technical

Officer.

       22.     Pussinen reported to Jeffrey Marrazzo (Marrazzo) (male), Chief Executive

Officer.

       23.     On or about May 24, 2021, Plaintiff began reporting to Pussinen.

       24.     On or about July 20, 2021, during a phone call with Plaintiffs direct report, Brian

Johnson (Johnson) (male), Information Technology Business Partner, Johnson told Plaintiff that,

in the meeting Plaintiff was scheduled to have the next day with George Skillin (Skillin) (male),

Head of Engineering, and Mahdi Sarmady (Sarmady) (male), Head of Data Sciences, they

planned to ambush Plaintiff.

       25.     On or about July 21, 2021, in a meeting with Sarmady and Skillin, they acted in an

aggressive and intimidating manner toward Plaintiff.

       26.     During the July 21st meeting, Sarmady and Skillin unjustly criticized Plaintiffs

performance, and falsely accused her of being out of line, overstepping, and convincing others

to change presentation slides so that the Information Technology department did not look bad.

       27.     Plaintiff understood that Sarmandy and Skillin were treating her in this manner

because of her sex and that, if she were a man, they would not be treating her in the same way.

       28.     On or about July 22, 2021, during a meeting with Jamie Schmid (Schmid)

(female), Human Resources, Plaintiff complained of sex discrimination.

       29.     During the July 22nd meeting, Plaintiff complained that Skillin and Sarmady treated

her in a hostile manner because she is a woman, and that she felt they would not have treated a

man the same way they treated her.

       30.     During the July 22nd meeting, Plaintiff stated that, when she attempted to speak



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with Skillin in a professional manner following the call, he came across as aggressive toward her,

he was dismissive and he ended the call quickly.

       31.     Defendant failed to investigate Plaintiffs sex discrimination complaints.

       32.     Defendant failed to remedy or prevent the sex discrimination at Defendant.

       33.     On or about August 2, 2021, during a midyear performance review meeting with

Pussinen, she discussed with Plaintiff areas of improvement and development that were vague and

lacked specificity and examples.

       34.     Pussinen asked if Plaintiff was happy at Defendant since she needed people who

were happy.

       35.     Plaintiff took the question to be in relation the fact that she had recently complained

of sex discrimination.

       36.     On or about September 17, 2021, during a meeting with Pussinen, she discussed

wanting to create a vision for the department but did not provide concrete actions to take.

       37.     On or about January 11, 2022, during a meeting with Pussinen, Plaintiff received a

year end performance review in which her performance was unjustly criticized.

       38.     Pussinen told Plaintiff that the review was a mixed bag, and that she should not

interpret her comments to mean that she has concluded that Plaintiff was not right for Defendant.

       39.     On January 30, 2022, in an email from Pussinen, titled 2021 Year End Review

Comments, she stated that she feel[s] like 2022 holds so many excellent opportunities for

[Plaintiff] to evolve, to turn around, to demonstrate competence in some key areas identified

through feedback gathered. She stated that she was seeing early positive indicators and [she

was] optimistic.




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         40.   On February 8, 2022, in an email to Pussinen, Plaintiff informed her that Plaintiffs

doctor was recommending that she take a six (6) week medical leave from work, beginning

February 14, 2022.

         41.   On February 8, 2022, in an email to Pussinen, Marrazzo, and Jennifer Flaisher

(Flaisher) (female), Chief People Officer, Plaintiff rebutted the unjust criticisms in the year end

performance review and complained of sex discrimination and retaliation.

         42.   Plaintiff included examples of comments and conduct that she found

misogynistic, and stated that she believed that she would not have been treated in this manner

or held to a higher standard if Plaintiff were a man or had not complained of sex discrimination.

         43.   Plaintiffs February 8, 2022 email was the first time that Plaintiff put in writing that

she felt that she was discriminated against because of her sex and retaliated against because of her

sex discrimination complaints.

         44.   On February 8, 2022, following the above, in an email from Flaisher, she

acknowledged receipt of Plaintiffs above email and stated that she would follow up with next

steps.

         45.   On February 10, 2022, in an email to Schmid, Plaintiff provided Defendant with a

doctors note stating that she needed to take a six (6) week medical leave from work.

         46.   On or about February 14, 2022, Plaintiff went out of work on an FMLA-protected

medical leave of absence.

         47.   Plaintiffs FMLA-protected medical leave was in part due to the stress resulting

from the sex discrimination and retaliation to which she was subjected at Defendant.

         48.   On March 14, 2022, in a text message to Flaisher, Plaintiff stated that her doctor

cleared her to return to work on March 21, 2022.



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        49.       On March 15, 2022, in a text message from Flaisher, she stated that she was glad

that Plaintiff was feeling well enough to return to work and asked her if she could speak with her

later that day.

        50.       On March 15, 2022, following the above, during a phone call with Flaisher:

                  a. Plaintiff and Flaisher discussed Plaintiffs sex discrimination and retaliation

                     complaints;

                  b. Flaisher stated that she was concerned about Plaintiffs complaint email when

                     she read it;

                  c. Flaisher asked Plaintiff if she was willing to return to work on the issues that

                     Pussinen had raised in her feedback to Plaintiff;

                  d. Plaintiff stated that she was, and reiterated her belief that she was being

                     discriminated against because of her sex and retaliated against because of her

                     sex discrimination complaints;

                  e. Plaintiff asked if Defendant was investigating her complaints.

                  f. Flaisher stated that she could not disclose any details; and

                  g. Flaisher stated that she wanted to talk further with Plaintiff again the next day,

                     March 16, 2022.

        51.       The next day, on March 16, 2022, during a phone call with Flaisher:

                  a. Defendant terminated Plaintiffs employment, effective April 1, 2022;

                  b. Defendants stated reason for terminating Plaintiff was performance;

                  c. Plaintiff complained that she was terminated because of her sex discrimination

                     and retaliation complaints; and

                  d. Flaisher did not deny that Plaintiff was terminated because of her sex



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                    discrimination and retaliation complaints.

       52.       Defendant terminated Plaintiffs employment while she was out of work on an

FMLA-protected medical leave of absence.

       53.       Defendant assigned Plaintiffs job duties to male and/or noncomplaining

employees, including Martha Love, Head of Enterprise Applications.

       54.       Plaintiff was more qualified and experienced to perform her job duties than the

male and/or noncomplaining employees to whom her job duties were assigned.

       55.       None of the male and/or noncomplaining employees were terminated.

       56.       Defendant retained male and/or noncomplaining employees in positions for which

Plaintiff was more qualified.

       57.       Plaintiff was the only employee reporting to Pussinen who was terminated effective

April 1, 2022.

       58.       Plaintiff had no disciplinary or performance issues throughout her employment.

       59.       Defendant did not follow any progressive discipline in terminating her

employment.

       60.       Defendant did not offer Plaintiff a downgraded position or a position with reduced

pay or any opportunity to remain employed before terminating her employment.

       61.       Plaintiff was provided with no opportunity to remain employed with Defendant.

       62.       Defendant subjected Plaintiff to a hostile work environment because of her sex

and/or her engaging in protected activity.

       63.       Defendant terminated Plaintiffs employment because of her sex and/or her

engaging in protected activity.




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       64.     Defendants sex discriminatory and retaliatory conduct toward Plaintiff has caused

her emotional distress.

       65.     Defendants comments and conduct evidence a bias against female employees

and/or employees who engage in protected activity.

       66.     Plaintiffs need for FMLA leave was a motivating and/or determinative factor, and

was considered as a negative factor, in Defendants decision to terminate Plaintiff.

       67.     As a direct and proximate result of the discriminatory and retaliatory conduct of

Defendant, Plaintiff has in the past incurred, and may in the future incur, a loss of earnings and/or

earning capacity, pain and suffering, embarrassment, humiliation, loss of self-esteem, mental

anguish, and loss of lifes pleasures, the full extent of which is not known at this time.

       68.     Defendant acted with malice and/or reckless indifference to Plaintiffs protected

rights. The conduct of Defendant was outrageous under the circumstances and warrants the

imposition of punitive damages against Defendant.

       69.     The conduct of Defendant was willful under the circumstances and warrants the

imposition of liquidated damages.

       70.     Defendants retaliatory conduct directed toward Plaintiff as set forth herein would

dissuade a reasonable employee from raising concerns of discrimination and retaliation.

       71.     The discriminatory and retaliatory conduct, as alleged herein, was severe and

pervasive enough to make a reasonable person believe that the conditions of employment had been

altered and that a hostile work environment existed, and made Plaintiff believe that the conditions

of employment had been altered and that a hostile work environment existed.

                                         COUNT I  TITLE VII


       72.     Plaintiff incorporates by reference the foregoing paragraphs as if set forth herein in


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their entirety.

        73.       By committing the foregoing acts of discrimination and retaliation against Plaintiff,

Defendant has violated Title VII.

        74.       Defendant acted intentionally and willingly, with malice and/or reckless

indifference to Plaintiffs rights, warranting the imposition of punitive damages.

        75.       As a direct and proximate result of Defendants violations of Title VII, Plaintiff has

suffered the damages and losses set forth herein and has incurred attorneys fees and costs.

        76.       Plaintiff is now suffering and will continue to suffer irreparable injury and

monetary damages as a result of Defendants discriminatory and retaliatory acts unless and until

this Court grants the relief requested herein.

        77.       No previous application has been made for the relief requested herein.

                                          COUNT II  FMLA


        78.       Plaintiff incorporates by reference the foregoing paragraphs as if set forth herein in

their entirety.

        79.       By committing the foregoing acts of discrimination and retaliation against Plaintiff,

Defendant has violated the FMLA.

        80.       As a result of Defendant terminating Plaintiff because she exercised her rights

under the FMLA, Defendant has violated the FMLA.

        81.       Defendant failed to place Plaintiff back into her same or equivalent position

following her protected medical leave, in violation of the FMLA.

        82.       Plaintiffs exercise of her FMLA rights was considered as a negative factor, and

was a motivating and determinative factor in Defendants conduct towards Plaintiff, including its

decision to terminate Plaintiff.


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        83.       Defendant interfered with Plaintiffs FMLA rights by terminating Plaintiff while

she was out on a protected medical leave prior to allowing her to return to work.

        84.       Said violations were not in good faith, and Defendant did not have reasonable

grounds to believe that the foregoing acts were not in violation of the FMLA.

        85.       Defendants violations of the FMLA warrant the imposition of liquidated damages.

        86.       As a direct and proximate result of Defendants violations of the FMLA, Plaintiff

has suffered damages and losses set forth herein and has incurred attorneys fees and costs.

        87.       Plaintiff is now suffering and will continue to suffer irreparable injury and

monetary damages as a result of Defendants violations of the FMLA unless this Court grants the

relief requested herein.

        88.       No previous application has been made for the relief requested herein.

                                         COUNT III  PHRA


        89.       Plaintiff incorporates by reference the foregoing paragraphs as if set forth herein in

their entirety.

        90.       By committing the foregoing acts of discrimination and retaliation against Plaintiff,

Defendant violated the PHRA.

        91.       Plaintiffs sex and her complaints of discrimination were motivating and/or

determinative factors in Defendants decision to terminate Plaintiffs employment.

        92.       As a direct and proximate result of Defendants violation of the PHRA, Plaintiff

has sustained the injuries, damages, and losses set forth herein, and has incurred attorneys fees

and costs.

        93.       Plaintiff is now suffering and may continue to suffer irreparable injuries and

monetary damages as a result of Defendants discriminatory and retaliatory acts unless and until


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the Court grants the relief requested herein.

        94.       No previous application has been made for the relief requested herein.

                                          COUNT IV  PFPO


        95.       Plaintiff incorporates by reference the foregoing paragraphs as if set forth herein in

their entirety.

        96.       By committing the foregoing acts of discrimination and retaliation against Plaintiff,

Defendant violated the PFPO.

        97.       Plaintiffs sex and her complaints of discrimination were substantial, motivating,

and/or determinative factors in Defendants decision to terminate Plaintiffs employment.

        98.       Defendant acted willfully and/or intentionally with malice and/or reckless

indifference to Plaintiffs federally protected rights, and Defendants conduct was especially

egregious, warranting the imposition of punitive damages.

        99.       As a direct and proximate result of Defendants violations of the PFPO, Plaintiff

has sustained the injuries, damages, and losses set forth herein, and has incurred attorneys fees

and costs.

        100.      Plaintiff is now suffering and may continue to suffer irreparable injuries and

monetary damages as a result of Defendants discriminatory and retaliatory acts unless and until

the Court grants the relief requested herein.

        101.      No previous application has been made for the relief requested herein.

                                                RELIEF


        WHEREFORE, Plaintiff seeks damages and legal and equitable relief in connection with

Defendants unlawful conduct, and specifically prays that the Court grant the following relief to

the Plaintiff by:

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a) declaring the acts and practices complained of herein to be in violation of Title VII;

b) declaring the acts and practices complained of herein to be in violation of the

   FMLA;

c) declaring the acts and practices complained of herein to be in violation of the PHRA;

d) declaring the acts and practices complained of herein to be in violation of the PFPO;

e) enjoining and permanently restraining the violations alleged herein;

f) entering judgment against the Defendant and in favor of the Plaintiff in an amount to

   be determined;

g) awarding damages to make the Plaintiff whole for all lost earnings, earning capacity

   and benefits, past and future, which Plaintiff has suffered or may suffer as a result of

   Defendants unlawful conduct;

h) awarding compensatory damages to Plaintiff for past and future pain and suffering,

   emotional upset, mental anguish, humiliation, and loss of lifes pleasures, which

   Plaintiff has suffered or may suffer as a result of Defendants unlawful conduct;

i) awarding punitive damages to Plaintiff under Title VII;

j) awarding punitive damages to Plaintiff under the PFPO;

k) awarding liquidated damages to Plaintiff under the FMLA;

l) awarding Plaintiff such other damages as are appropriate under Title VII, the FMLA,

   the PHRA and the PFPO;

m) awarding Plaintiff the costs of suit, expert fees and other disbursements, and

   reasonable attorneys fees; and

n) granting such other and further relief as this Court may deem just, proper, or

   equitable including other equitable and injunctive relief providing restitution for past



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           violations and preventing future violations.

                                            CONSOLE MATTIACCI LAW, LLC



Dated: 08/11/2023                   BY:     ________
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                                            KEVIN CONSOLE, ESQ.
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                                            Attorneys for Plaintiff,
                                            Robin Bartlett-Raudenbush




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